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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                 )
LYDIA HELENA VISION,                             )
SORA KUYKENDALL, and SASHA REED,                 )
                                                 )
               Plaintiffs,                       )
                                                 )
       - vs-                                     )           No. 18-156-NJR
                                                 )
ROB JEFFREYS, MELVIN HINTON,                     )
and STEVEN BOWMAN,                               )
                                                 )
               Defendants.                       )

    DEFENDANTS’ SUBMISSION CONCERNING PROPOSED COURT MONITOR

   The Defendants, ROB JEFFREYS, MELVIN HINTON, and STEVEN BOWMAN (sued in

their official capacities only), by and through their attorney, Kwame Raoul, Attorney General for

the State of Illinois, submit the following proposed name with respect to this Court’s selection of

a monitor:

   Defendants propose Kelly Ducheny, Psy.D., as a potential Court monitor. Dr. Ducheny
   works for Howard Brown Health in Chicago, Illinois. A copy of her CV has been
   tendered to Plaintiffs’ counsel and will be sent via e-mail to this Court, copying counsel
   for Plaintiffs.

                                                     Respectfully submitted,
                                                     ROB JEFFREYS, MELVIN HINTON, and
                                                     STEVEN BOWMAN,
                                                             Defendants,
Lisa A. Cook, #6298233                               KWAME RAOUL, Attorney General
Assistant Attorney General                           State of Illinois
500 South Second Street
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS
                            EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ, )
EBONY STAMPS, LYDIA HELENA VISION, )
SORA KUYKENDALL, and SASHA REED,   )
                                   )
            Plaintiffs,            )
                                   )
      - vs-                        )                         No. 18-156-NJR-MAB
                                   )
JOHN BALDWIN, MELVIN HINTON,       )
and STEVE MEEKS,                   )
                                   )
            Defendants.            )
                                    CERTIFICATE OF SERVICE

      I hereby certify that on January 7, 2022, the foregoing document, Defendants’ Submission
Concerning Proposed Court Monitor, was electronically filed with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to the following:

              John A. Knight                    jknight@aclu.il.org
              Abby L. Parsons                   aparsons@kslaw.com
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              Camille Bennett                   cbennett@aclu-il.org
              And all other counsel of record

                                                      s/ Lisa A. Cook
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